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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION

POP TOP CORP.,

              Plaintiff,

      v.                                           Civil Action No. 6:21-cv-00315-ADA

AMAZON.COM, INC.,                                  JURY TRIAL DEMANDED

              Defendant.



                        UNOPPOSED MOTION FOR ENTRY OF
                     CONFIDENTIALITY AND PROTECTIVE ORDER


       Amazon.com, Inc. hereby submits an unopposed motion entry of the attached Protective

Order. The Protective Order is necessary to preserve and maintain the confidentiality of personal,

private, confidential, and/or commercially sensitive information regarding the parties, employees,

former employees of the parties, and third parties that might be disclosed during the course of

discovery in this litigation. WHEREFORE, the parties respectfully request that the Court grant

the Unopposed Motion for Entry of Protective Order and enter the attached Protective Order.
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Dated: October 22, 2021                   Respectfully submitted,

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                              CERTIFICATE OF CONFERENCE

       I have conferred with counsel for Pop Top Corp., and Plaintiff does not oppose this mo-

tion for entry of confidentiality and protective order.

                                                           /s/ Daniel T. Shvodian
                                                             Daniel T. Shvodian




                                 CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and Local Rule CV-5, I hereby certify

that, on October 22, 2021, all counsel of record who have appeared in this case are being served

with a copy of the foregoing via the Court’s CM/ECF system.

                                                            /s/ Daniel T. Shvodian
                                                           /s/ Daniel T. Shvodian
